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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
              v.                            )      Case No. 10-20037-JWL
                                            )
DONALD MILTON STEELE and                    )
RANDY JAY DYKE,                             )
                                            )
                      Defendants.           )
                                            )



                          MEMORANDUM AND ORDER

       A jury convicted defendants Donald Milton Steele and Randy Jay Dyke of

conspiracy to counterfeit Federal Reserve Notes (Count 1); conspiracy to intentionally

manufacture, distribute and possess with intent to distribute more than 50 grams of

methamphetamine, and to distribute hydrocodone, methadone and marijuana (Count 6);

and possession with intent to distribute methamphetamine (Count 13). In addition, the

jury convicted Mr. Steele of three counts of identity theft (Counts 2, 3 and 5); two counts

of distribution of marijuana (Counts 8 and 12); and of possessing a firearm in furtherance

of a drug trafficking crime (Count 10). The jury also convicted Mr. Dyke of one count

of distribution of hydrocodone (Count 7) and two counts of distribution of methadone

(Counts 9 and 11).

       This matter is now before the court on Mr. Steele’s motion for acquittal on the
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basis of outrageous governmental conduct (doc. 205); Mr. Steele’s motion for a new trial

on Counts 2 and 5 pursuant to Rule 33 (doc. 206); Mr. Steele’s motion for acquittal on

the basis of insufficient evidence (doc. 207); and Mr. Dyke’s motion for judgment of

acquittal notwithstanding the verdict or, in the alternative, for a new trial (doc. 208). As

explained below, the court grants Mr. Steele’s motion for a new trial on Counts 2 and 5

and otherwise denies defendants’ motions.

        By way of background, this case stems from an undercover investigation of the

defendants’ activities beginning November 24, 2009 through February 17, 2010. The

investigation ensued after Kelly Findley, a cooperating individual hoping to receive

some consideration in his own case, introduced Detective Brian Clemmons (acting

undercover) to Mr. Steele and Mr. Dyke at Mr. Steele’s residence in Lawrence, Kansas.

Mr. Steele’s residence was known as “the Farm” and the vast majority of undercover

operations that occurred between November 2009 and February 2010 occurred at the

Farm.



Outrageous Government Conduct

        Mr. Steele moves for acquittal on the methamphetamine conspiracy charged in

Count 6; the methamphetamine portion of Count 10; and Count 13 on the grounds of

outrageous government conduct. Mr. Dyke moves for acquittal on all counts on the

grounds of outrageous government conduct. In essence, both defendants contend that

the government acted outrageously by “creating” the methamphetamine crimes in this

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case as to Mr. Steele and by creating all crimes in this case as to Mr. Dyke. The court

denies both motions on this issue.

       The issue of outrageous conduct is a legal question for the court. United States

v. Valona, 834 F.2d 1334, 1343 (7th Cir. 1987). “The relevant inquiry when assessing

claims of outrageous government conduct is whether, considering the totality of the

circumstances the government’s conduct is so shocking, outrageous and intolerable that

it offends the universal sense of justice.” U.S. v. Worthon, 520 F.3d 1173, 1181 (10th

Cir. 2008).   The outrageous governmental conduct defense is distinct from the

entrapment defense because the entrapment defense considers the predisposition of the

defendant to commit the crime. U.S. v. Sneed, 34 F.3d 1570, 1576-77 (10th Cir. 1994).

In contrast, the outrageous governmental conduct defense looks only at the government’s

conduct. Id. at 1577. The outrageous governmental conduct defense

       is an extraordinary defense reserved for only the most egregious
       circumstances. It is not to be invoked each time the government acts
       deceptively or participates in a crime that it is investigating. Nor is it
       intended merely as a device to circumvent the predisposition test in the
       entrapment defense.

Id.

       To succeed on an outrageous conduct defense, the defendant must show either (1)

excessive government involvement in the creation of the crime; or (2) significant

governmental coercion to induce the crime. Worthon, 520 F.3d at 1181. Mr. Steele and

Mr. Dyke contend only that the government created the crimes; they do not argue any

coercion on the part of the government.   Excessive government involvement occurs if

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the government “engineers and directs the criminal enterprise from start to finish.” U.S.

v. Pedraza, 27 F.3d 1515, 1521 (10th Cir. 1994). As the Circuit has explained,

       It is not outrageous for the government to infiltrate an ongoing criminal
       enterprise or to induce a defendant to repeat, continue or even expand
       previous criminal activity. In inducing a suspect to repeat or expand his
       criminal activity, it is permissible for the government to suggest the illegal
       activity, provide supplies and expertise, and act as both a supplier and
       buyer of illegal goods.

Id.

       Mr. Steele contends that the government in this case created and engineered the

methamphetamine crimes in this case. According to Mr. Steele, the government acted

outrageously first by ingratiating itself with Mr. Steele (by having Detective Clemmons

provide beer to him on multiple occasions and drive his daughter home from school) and

then by initiating, through Mr. Findley, the idea of manufacturing and distributing

methamphetamine. Mr. Steele emphasizes his allegedly minimal involvement with the

methamphetamine scheme and the fact that he had no prior history or involvement in

methamphetamine use, manufacture or distribution. Mr. Steele also urges that the

conduct here is outrageous because the methamphetamine scheme was an unfair and

illogical expansion of Mr. Steele’s prior criminal activities, which were limited to

distributing stolen checks, trading stolen property and selling marijuana.

       Similarly, Mr. Dyke contends that the idea to manufacture and sell

methamphetamine was exclusively the government’s idea through either Mr. Findley or

Detective Clemmons, that the government’s participation in the crime was “excessive”


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and that his own participation in the methamphetamine operation was minimal.           In

addition, Mr. Dyke contends that the government created and engineered the

counterfeiting crime and even duped Mr. Dyke into distributing prescription pills

through its suggestion that Mr. Dyke trade prescription pills for antifreeze and motor oil

and Detective Clemmons’ feigning a bad back.

       The court concludes that the defendants have not met the high standard of proving

outrageous government conduct. The evidence at trial certainly convinced the court that

the government had reason to believe that both defendants were engaged in and desired

to engage in a range of crimes and the government took reasonable measures that it

believed based on its training and experience were necessary to ferret out those crimes

by the use of an undercover officer and a cooperating individual. The specific means

and methods through which they ingratiated themselves with the defendants, such as

providing beer for social occasions and providing items like antifreeze or a fuel pump

in exchange for contraband were all appropriate measures to carry out the investigation.

       Moreover, the court expressly rejects the defendants’ contention that the

government, through Mr. Findley, first raised the idea of manufacturing

methamphetamine. The evidence at trial, through the testimony of Detective Clemmons

and an audio recording from a body wire worn by Detective Clemmons, demonstrates

that on December 30, 2009, Mr. Findley, Detective Clemmons and Mr. Steele were

traveling together in a car. Mr. Findley asked Detective Clemmons something to the

effect of “How do you feel about making a little meth?” When Detective Clemmons

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suggested that such activity was out of his realm of expertise, Mr. Findley responded by

gesturing to Mr. Steele and saying “Scooter has been talking about it.”1 Significantly,

Mr. Steele did not respond in any way to Mr. Findley’s statement. Later that day,

Detective Clemmons told Mr. Steele that he might know someone who could “cook”

methamphetamine and Mr. Steele responded that he would either get “three meals and

a cot” or be able to retire. He enthusiastically stated, “Let’s make some good ice,” and

advised Detective Clemmons that he had a place to do it and volunteered to put together

a list of necessary chemicals. In subsequent recorded conversations, Mr. Steele was a

ready participant in the methamphetamine operation.

       The court infers from both Mr. Steele’s silence on the audio recording and his

enthusiasm in helping to move the methamphetamine operation forward that, in fact, the

statement made by Mr. Findley that Mr. Steele “has been talking about” making

methamphetamine reflected the true state of Mr. Steele’s mind. Mr. Steele’s failure to

deny Mr. Findley’s statement in the car or to challenge the substance of that conversation

at any other time leads the court to conclude that Mr. Steele initiated the discussions of

methamphetamine2 and his subsequent conduct as it relates to the methamphetamine



       1
        Mr. Steele was referred to at times as “Scooter.”
       2
         Mr. Steele suggest that the court cannot rely on Mr. Findley’s statement because
the government failed to substantiate the statement by calling Mr. Findley as a witness.
But the court does not accept Mr. Findley’s statement as true simply because Mr. Findley
made the statement, but because Mr. Steele, in the face of that statement, did not deny
it or otherwise challenge it.

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operation leads the court to conclude that Mr. Steele was highly interested in pursuing

and willing to engage in that activity.

       The court further rejects Mr. Dyke’s contention that the idea of the

methamphetamine crimes was initiated by Detective Clemmons. At trial, Mr. Dyke

presented evidence in the form of an audio recording from a body wire worn by

Detective Clemmons on November 24, 2009 during a conversation that Detective

Clemmons was having with Mr. Findley. This was the first time that Detective

Clemmons and Mr. Findley visited the farm. According to Mr. Dyke, Detective

Clemmons can be heard saying, “Hey Kelly. This tape is recording. So don’t talk about

meth labs or don’t talk about your history stuff cause that’s gonna come out later on.

Alright? Right on.” When called as rebuttal witness, Detective Clemmons testified that

he did not mention “meth labs” on that occasion with Mr. Findley but he simply told Mr.

Findley not to discuss his own criminal history because the recording would be played

in court at some point. The court credits Detective Clemmons’ explanation of the

context of the recording and rejects Mr. Dyke’s suggestion that Detective Clemmons was

somehow coaching Mr. Findley to save any discussion of “meth labs” for a later date.

       As for Mr. Dyke’s participation in the methamphetamine operation, the evidence

at trial demonstrated that he was as willing and eager to pursue that activity as Mr.

Steele. Despite numerous audio recordings of conversations between Mr. Dyke and the

undercover team, Mr. Dyke is never heard objecting to any plans concerning the

methamphetamine operation and willingly shopped for certain chemicals without the

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government’s request or suggestion that he do so. When Detective Clemmons asked Mr.

Dyke “what was in it for him,” Mr. Dyke responded that Mt. Steele took very good care

of him and that they “worked together.”

       For similar reasons, the court rejects Mr. Dyke’s contention that the government

created and engineered the counterfeiting conspiracy. The evidence at trial demonstrated

to the court that Mr. Steele initially devised the counterfeiting scheme with the hopes of

purchasing large quantities of marijuana with counterfeit currency. Although the

government arguably took a lead role in purchasing items for use in the counterfeiting

scheme (such as printers), the evidence demonstrated that Mr. Dyke actively participated

in discussions about such purchases, even inquiring whether additional printers needed

to be purchased, and willingly attempting to “convert” allegedly counterfeit currency

into real currency by passing bills that he believed were counterfeit at a retail

establishment.3 With respect to Mr. Dyke’s distribution of hydrocodone and methadone

to the undercover team, the court, as noted above, believes that the government’s

methods–including Detective Clemmons’ feigning a bad back and offering antifreeze in

exchange for drugs–were entirely appropriate in the context of this case.

       The defendants, then, have identified no conduct on the part of the government

that is so outrageous as to violate their due process rights. The motions for acquittal on



       3
        In light of Mr. Dyke’s clear participation in the counterfeiting scheme, the court
summarily rejects Mr. Dyke’s one-sentence argument that the evidence at trial was
insufficient to sustain a conviction against Mr. Dyke for the crime charged in Count 1.

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the basis of outrageous government conduct are denied.



Entrapment

       As an alternative to their argument that the government acted outrageously, both

defendants move for acquittal on various counts on the grounds that no rational trier of

fact, based on the evidence presented at trial, could have found that the defendants were

not entrapped. Mr. Steele moves for acquittal on Count 1; the methamphetamine

conspiracy charged in Count 6; Count 10; and Count 13 on the grounds that he was

entrapped. Mr. Dyke moves for acquittal on all counts on the grounds that he was

entrapped. The court denies both motions on this issue.

       By way of background, the court instructed the jury as to the entrapment defense

raised by defendants. Specifically, in Instruction 27, the court instructed the jury as

follows:

              As a defense to several of the crimes charged in the Superseding
       Indictment, each defendant has asserted that he was entrapped. The
       defendant was entrapped if

              – the idea for committing the crimes originated with government
       agents, and

              – the government agents then persuaded or talked the defendant
       into committing the crimes, and

              – the defendant was not already willing to commit the crimes.

               When a person has no previous intent or purpose to violate the law,
       but is induced or persuaded by officers or agents to commit a crime, he is
       entrapped and the law, as a matter of policy, forbids his conviction in such

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       a case. On the other hand, when a person already has the readiness and
       willingness to violate the law, and the officers or agents merely provide
       him with an opportunity to commit the crime and do so even by disguise
       or ruse, there is no entrapment.

              In order to return a verdict of guilty as to each defendant for the
       crimes charged in Count 1, Count 6, Count 7, Count 8, Count 9, Count 10,
       Count 11, Count 12 and Count 13, you must find beyond a reasonable
       doubt that the defendant was not entrapped.

              For purposes of this case, Kelly Findley, the informant, was an
       agent of law enforcement officers.

In addition, the elements instruction of each Count identified in Instruction 27 required,

as a separate element, that the government prove beyond a reasonable doubt that the

defendant under consideration was not entrapped.          With respect to each Count

challenged by defendants, the jury found that the government proved beyond a

reasonable doubt that the defendants were not entrapped.

       The defendants contend that no rational jury could have found the defendants

guilty of the crimes beyond a reasonable doubt because no rational jury could have found

that the defendants were not entrapped. In analyzing the sufficiency of the evidence in

the context of a motion for judgment of acquittal, the court views the evidence in the

light most favorable to the government to determine whether “any rational trier of fact

could have found the defendant guilty of the crime beyond a reasonable doubt.” United

States v. Irvin, 656 F.3d 1151, 1162 (10th Cir. 2011) (citation omitted). In doing so, the

court “does not weigh conflicting evidence or consider witness credibility, as these

duties are delegated exclusively to the jury.” Id. Instead, the court “presume[s] that the


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jury’s findings in evaluating the credibility of each witness are correct.” Id. (citation

omitted).

       To carry its burden of showing that the defendants were not entrapped, the

government (as explained in Instruction 27) had to establish only one of the following:

(1) that the idea for the particular crime under consideration did not originate with

government agents; (2) that the government did not persuade or talk the defendants into

committing the crimes; or (3) that the defendants were predisposed to commit the crime.

See United States v. Ford, 550 F.3d 975, 994 (10th Cir. 2008). Thus, so long as there

is evidence in the record which, when viewed in the light most favorable to the

government, supports the jury’s conclusion on any one of these three elements, the jury’s

verdict must stand. As will be explained, there is sufficient evidence and the motions

are denied.

       The court begins with the methamphetamine crimes. As explained in some detail

above in connection with the defendants’ outrageous government conduct arguments,

there is evidence in the record from which the jury could have reasonably concluded that

the idea for manufacturing methamphetamine originated with Mr. Steele rather than

government agents. Viewed in the light most favorable to the government, the fact that

Mr. Steele remained silent in the face of Mr. Findley’s December 30, 2009 statement to

Detective Clemmons that “Scooter’s been talking about” making methamphetamine,

coupled with Mr. Steele’s subsequent enthusiasm for the methamphetamine scheme, is

sufficient evidence for the jury to conclude that Mr. Steele, rather than government

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agents, initiated the methamphetamine scheme. It was also reasonable for the jury to

credit Detective Clemmons’ explanation of his November 24, 2009 conversation with

Mr. Findley concerning Mr. Findley’s criminal history and to conclude that Detective

Clemmons was not discussing a plan to introduce methamphetamine into the undercover

investigation. Thus, because the government’s evidence is sufficient for a reasonable

jury to conclude that the idea for the methamphetamine crimes did not originate with

government agents, the defendants cannot meet their burden of showing that they are

entitled to a judgment of acquittal on these counts.4

       With respect to the counterfeiting conspiracy charged in Count 1, the jury heard

evidence that Mr. Steele–prior to the undercover operation even starting–had plans to

purchase large quantities of marijuana with counterfeit currency such that it was

reasonable for the jury to conclude that the idea for the counterfeiting conspiracy did not

originate with government agents. Moreover, the evidence viewed in the light most

favorable to the government demonstrated that neither Mr. Steele nor Mr. Dyke was

persuaded or talked into committing the crime but that both men actively and

enthusiastically participated in the plans to print and pass counterfeit currency. Because


       4
         While Mr. Steele challenges only the methamphetamine portion of the
conspiracy charged in Count 6, Mr. Dyke broadly challenges all counts against him.
Nonetheless, with respect to the marijuana, hydrocodone and methadone aspects of
Count 6, as well as the distribution charges in Counts 7, 9 and 11, the evidence viewed
in the light most favorable to the government is more than sufficient to establish that the
idea for distributing these drugs did not originate with government agents. Indeed, the
court cannot recall any evidence–even viewed in the light most favorable to Mr.
Dyke–that the idea originated with government agents.

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there was evidence from which the jury could have reasonably concluded that the

government proved beyond a reasonable doubt that the defendants were not entrapped

as to Count 1, the court denies the motion as to Count 1.

       Finally, with respect to Count 10, the firearm charge, the evidence viewed in the

light most favorable to the government is sufficient to permit the jury to conclude that

Mr. Steele ended up in possession of the firearm on January 30, 2009 based on his

decision to trade a firearm with the fictional “meth cook” in exchange for

pseudoephedrine pills that the cook had allegedly ordered rather than trade marijuana for

the pills. Moreover, even though Detective Clemmons presented the alternatives to Mr.

Steele–that is, trading either a firearm or marijuana–the evidence demonstrated that

Detective Clemmons did not persuade or otherwise encourage Mr. Steele to select the

firearm option. In short, because there is evidence in the record from which the jury

could reasonably have concluded that Mr. Steele was not entrapped as to Count 10, the

verdict must stand. The motion is denied.



Conspiracy to Distribute Marijuana, Hydrocodone and Methadone

       Mr. Steele also moves for acquittal on Count 6 on the grounds that the evidence

was insufficient to prove that Mr. Steele and Mr. Dyke conspired to distribute drugs that,

according to Mr. Steele, each defendant distributed independently.5 According to Mr.


       5
        Mr. Steele’s argument expressly excludes the methamphetamine conspiracy
                                                                   (continued...)

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Steele, the government’s evidence proved only that Mr. Steele independently distributed

marijuana and that Mr. Dyke independently distributed hydrocodone and methadone and

did not prove the requisite interdependence, stated objective or agreement between the

two defendants with respect to these drugs. As will be explained, the court disagrees and

finds that the evidence was sufficient for the jury to find beyond a reasonable doubt that

the defendants conspired to distribute marijuana, hydrocodone and methadone.

       Mr. Steele is correct that the evidence at trial demonstrated that Mr. Steele

distributed marijuana to the undercover team (and never pills) while Mr. Dyke

distributed prescription pills to the undercover team (and never marijuana). Often, these

drugs were traded for items that Mr. Steele wanted for his tree-trimming business such

as heaters or climbing ropes or that Mr. Dyke wanted for his personal vehicle such as a

fuel pump. To be sure, it may be that Mr. Steele did not always know whether or when

Mr. Dyke was distributing pills and vice versa. Nonetheless, the evidence at trial

demonstrated that Mr. Steele and Mr. Dyke engaged in those distribution activities as

part of their overall common objective of facilitating and maintaining the operation of

the farm and the myriad of activities that occurred there, including the running of the

tree-trimming business as well as the pursuit of counterfeiting operations and, later, the

potential manufacture and distribution of methamphetamine. See United States v.

Yehling, 456 F.3d 1236, 1240 (10th Cir. 2006) (To prove knowledge of the essential


       5
       (...continued)
charged in Count 6.

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objectives of the conspiracy, the government does not have to show the defendant knew

all the details of a conspiracy; the government need only prove that the defendant shared

a common purpose or design with his alleged coconspirators.).

       Moreover, the evidence at trial demonstrated that Mr. Steele and Mr. Dyke were

“partners” in all of the activities that occurred on the farm and that their drug distribution

activities were seamlessly integrated into the overall criminal enterprise that these two

men operated from the farm. Indeed, the distribution activities occurred on the farm

itself (and, on two occasions, the undercover team obtained both marijuana from Mr.

Steele and prescription pills from Mr. Dyke on the same visit to the farm). In addition,

evidence was presented that Mr. Steele had knowledge of Mr. Dyke’s distribution

activities and sanctioned those activities to further the objectives of the overall

conspiracy. By way of example, on December 16, 2009, the undercover team provided

heaters and climbing rope to Mr. Steele and, in return, Mr. Steele provided marijuana to

the undercover team. During the same exchange, however, the undercover team

provided gallons of antifreeze to Mr. Steele, who advised the team that, in exchange for

the antifreeze, they would receive prescription pills from Mr. Dyke at a later date.

Consistent with Mr. Steele’s statement, Mr. Dyke provided prescription pills to the

undercover team in early January 2010 as payment for the antifreeze that was delivered

to Mr. Steele. In early February 2010, Mr. Dyke provided prescription pills to the

undercover team and advised Detective Clemmons that he could pay for the pills later

by providing Mr. Dyke with antifreeze and motor oil. Later, Mr. Dyke advised Detective

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Clemmons by telephone that he preferred a fuel pump for his vehicle as payment for the

prescription pills. A few days later, the undercover team delivered the fuel pump for Mr.

Dyke to Mr. Steele, who happened to be standing in the driveway when the undercover

team arrived. The distribution activities of Mr. Steele and Mr. Dyke, therefore, are not

nearly as distinct as Mr. Steele suggests.

       For the foregoing reasons, there was sufficient evidence at trial for the jury to

conclude beyond a reasonable doubt that Mr. Steele and Mr. Dyke conspired to distribute

marijuana, hydrocodone and methadone. Mr. Steele’s motion on this issue is denied.



Identify Theft Instructions

       Mr. Steele seeks a new trial on Counts 2 and 5 based on the court’s denial of his

request that the court apply the holding of Flores-Figueroa to the elements instructions

for Counts 2 and 5. In Flores–Figueroa v. United States, ––– U.S. ––––, 129 S. Ct. 1886

(2009), the Court addressed the grammatical construction of the term “knowingly” in an

aggravated identity-theft prosecution under 18 U.S.C. § 1028A(a)(1) and concluded that

a defendant may be convicted of aggravated identify theft only if the government proves

that the defendant knew that the means of identification belonged to a real person. See

United States v. Prince, 647 F.3d 1257, 1266 (10th Cir. 2011). Mr. Steele contends that

the logic in Flores-Figueroa must extend to prosecutions under 18 U.S.C. § 1028(a)(7),

in which Congress utilized language virtually identical to § 1028A(a)(1). As will be

explained, the court agrees with Mr. Steele, vacates his convictions on Counts 2 and 5

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and orders a new trial on these counts.6

       In Flores–Figueroa, the Supreme Court interpreted § 1028A(a)(1), which

criminalizes “knowingly transfer[ing], possess[ing], or us[ing], without lawful authority,

a means of identification of another person.” The Court considered whether the

“knowingly” mens rea element modified the sentence’s direct object: “a means of

identification of another person.” Prince, 647 F.3d at 1266 (citing Flores-Figueroa, 129

S. Ct. at 1894). The “question was whether a defendant could be convicted of

aggravated identity theft regardless of whether he actually knew his fake documentation

belonged to someone else.” Id.

       By way of background, Flores–Figueroa was a Mexican citizen who obtained

counterfeit identification documents for employment purposes. Id. at 1266 n.5. He

initially received documents reflecting fabricated Social Security numbers and alien

registration numbers. Id. Later, however, he received new documents with new

numbers that, unlike his initial documentation, actually belonged to other people. Id.

At trial, the government successfully argued that it was of no consequence whether

Flores–Figueroa knew that his second set of documents was a “a means of identification

of another person.” Id. (citing Flores-Figueroa, 129 S. Ct. at 1888–89). The Supreme

Court disagreed and applied § 1028A(a)(1)'s “knowingly” requirement to each term of


       6
         Mr. Steele did not include the Flores-Figueroa element in his proposed
instructions for Counts 2 and 5. Nonetheless, he briefly raised the issue during the
instruction conference. The court regrets that it did not give the issue more consideration
at the time.

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the provision. Id. According to the Court, “[a]s a matter of ordinary English grammar,”

the word “knowingly” in § 1028A(a)(1) applies to each subsequently listed element in

the crime. Id. (quoting Flores-Figueroa, 129 S. Ct. at 1890). Under this interpretation,

“knowingly” modifies not only the verbs of the sentence, but also the direct object. Id.

       As highlighted by Mr. Steele, the language of § 1028(a)(7) is nearly identical to

the language analyzed by the Supreme Court in Flores-Figueroa. Section 1028(a)(7)

criminalizes “knowingly transfer[ing], possess[ing], or us[ing], without lawful authority,

a means of identification of another person with the intent to commit, or to aid and abet,

or in connection with, any unlawful activity that constitutes a violation of federal law,

or that constitutes a felony under applicable State or local law.” According to Mr.

Steele, then, common sense dictates that Flores-Figueroa applies to Counts 2 and 5 here

such that the jury should have been instructed that the government needed to prove that

Mr. Steele knew that the stolen checks he provided to the undercover team for the

purpose of procuring property for Mr. Steele belonged to a real person.

       Two Circuit Courts of Appeals have touched on the issue raised by Mr.

Steele–one directly and one indirectly. The Fourth Circuit, albeit in an unpublished

opinion, has squarely held that Flores-Figueroa applies to a § 1028(a)(7) conviction.

United States v. Berry, 369 Fed. Appx. 500, 502 (4th Cir. Mar. 12, 2010). As explained

by the Fourth Circuit,

       Although Flores-Figueroa did not address the knowledge necessary for
       a §1028(a)(7) conviction, “when Congress uses the same language in two
       statutes having similar purposes, particularly when one is enacted shortly

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       after the other, it is appropriate to presume that Congress intended that text
       to have the same meaning in both statutes.” Smith v. Jackson, Mississippi,
       544 U.S. 228, 233 (2005). Because § 1028(a)(7)’s wording is virtually
       identical to § 1028A, both statutes criminalize identity theft, and § 1028A
       was passed shortly after § 1028(a)(7), we agree that the Supreme Court’s
       holding in Flores-Figueroa should apply to a § 1028(a)(7) conviction, as
       well.

Id. Ultimately, the Fourth Circuit vacated the defendant’s § 1028A conviction and his

§ 1028(a)(7) conviction on the grounds that the record was devoid of evidence

establishing that the defendant knew the identification he stole belonged to a real person.

Id.

       In United States v. Adibe, the district court, after a bench trial, found the

defendant guilty of both aggravated identity theft in violation of § 1028A and identity

theft in violation of § 1028(a)(7) after concluding with respect to both counts that the

defendant knew that the means of identification used actually belonged to a real person.

2010 WL 1286718, at *1, 5 (D. Del. Mar. 31, 2010). Although the court did not discuss

extending Flores-Figueroa to § 1028(a)(7), the court expressly identified the “only

disputed issue” for both counts as whether the defendant knew that the means of

identification used belonged to a real person. Id. at *5. At sentencing, the defendant

requested a two-point reduction in his offense level for acceptance of responsibility.

United States v. Adibe, 2011 WL 2465470, at *1 (3rd Cir. June 22, 2011). The district

court denied this request on the grounds that the defendant had “put the government to

a substantial burden of proof” on both counts by contesting that he did not know that the

identification materials he used belonged to real persons. Id. at *1-2.

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       On appeal to the Third Circuit, the defendant argued that the district court erred

in finding that he had not accepted responsibility for his actions. Id. at *2. The Third

Circuit disagreed and, in doing so, implicitly agreed with the district court that both the

aggravated identity theft count and the identity theft count required the government to

prove that the defendant knew that the identification materials he used belong to real

individuals. See id. at *2. Discussing both counts together, the Third Circuit agreed

with the district court that the defendant had contested “an essential factual element” of

his identity theft scheme. Like the district court’s opinion, then, the Third Circuit’s

opinion, without discussion, assumes that Flores-Figueroa applies to § 1028(a)(7).

       The court believes that the Tenth Circuit, if faced with this issue, would follow

the lead of the Fourth Circuit and the implicit suggestion of the Third Circuit and

conclude that Flores-Figueroa extends to § 1028(a)(7) such that the government was

required to prove that Mr. Steele had knowledge that the means of identification that he

transferred to the undercover team (i.e., checks, credit cards and a Kansas identification

card all belonging to a woman named Julie Welsh) belonged to a real person. Because

the instructions on Counts 2 and 5 omitted this element, the instructions were erroneous.

       The court turns, then, to the government’s contention that any error in the

instruction is harmless in light of the overwhelming evidence at trial that Mr. Steele

knew that the means of identification he transferred to the undercover team belonged to

a real person. The government highlights that Mr. Steele advised the undercover team

when transferring the materials that “it’s a girl” and that her signature was an easy

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signature to forge.      Nonetheless, the court cannot agree that the evidence

overwhelmingly shows that Mr. Steele had the requisite knowledge. This is not the

“classic case” of identity theft described by the Court in Flores-Figueroa where the

requisite knowledge is not difficult to prove. See Flores-Figueroa, 129 S. Ct. at 1893

(knowledge easy to prove when defendant has used identification information to access

that person’s bank account; contacts real person under guise of bank employee to request

personal information; or digging through person’s trash to find discarded credit card and

bank statements); see also McKenzie v. United States, 2011 WL 2836758, at *9 (M.D.

Ala. May 25, 2011) (knowledge that documents belonged to real person reasonably

inferred from fact that defendant stole checks from individual’s mailbox).

       Here, the record is devoid of any evidence explaining how Mr. Steele obtained

Ms. Welsh’s checks, credit cards and identification card. Ms. Welsh testified that she

left various boxes of personal property in the basement of her parents’ home and that her

parents apparently left those boxes in the basement of the home when they subsequently

moved residences. No evidence was presented, however, showing how the items in

those boxes ultimately ended up in the hands of Mr. Steele. Ms. Welsh testified that she

did not know or recognize either defendant. She further testified that, to her knowledge,

a woman had been arrested in 2009 after negotiating Ms. Welsh’s checks at various

locations in Lawrence, Kansas. Although Mr. Steele resides in Lawrence and nearly all

of the illegal activities in this case occurred in Lawrence, no evidence was presented

linking Mr. Steele to the woman who had been negotiating Ms. Welsh’s checks. In such

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circumstances, the court cannot reasonably infer that Mr. Steele knew that the checks

belonged to a real person. The instruction error, then, was not harmless. Mr. Steele is

entitled to a new trial on Counts 2 and 5. See United States v. Serawop, 410 F.3d 656,

669 (10th Cir. 2005) (instruction error is harmless only when court concludes beyond a

reasonable doubt that the omitted element was uncontested and supported by

overwhelming evidence, such that the jury verdict would have been the same absent the

error). Mr. Steele’s motion, then, is granted.



Intoxication Instruction

       Prior to trial, Mr. Dyke proffered an intoxication instruction explaining that the

jury could consider evidence “of the defendant’s intoxication in deciding whether the

government has proved beyond a reasonable doubt that the defendant acted with the

intent required to commit the crimes charged.” The court declined to give this or any

other intoxication instruction to the jury.7 Mr. Dyke now contends that the court erred

by failing to give an intoxication instruction on the two conspiracy counts (Counts 1 and

6) and the substantive methamphetamine count (Count 13). As will be explained, the

court disagrees.

       A defendant is not guilty of a specific intent offense if voluntary intoxication


       7
        The court declined to give the instruction on the grounds that the crimes charged
against Mr. Dyke are “general intent” crimes. The court’s conclusion as to the nature
of the crimes was incorrect. Nonetheless, the court’s conclusion that an intoxication
instruction was inappropriate was correct.

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prevented the defendant from forming the requisite specific intent. United States v.

Williams, 403 F.3d 1188, 1194 (10th Cir. 2005). The conspiracy counts and the

methamphetamine count identified by Mr. Dyke are all specific intent crimes. United

States v. Blair, 54 F.3d 639, 642 (10th Cir. 1995) (conspiracy requires specific intent to

further the unlawful activity which is the object of the conspiracy); United States .v

Cherry, 433 F.3d 698, 701 (10th Cir. 2005) (possession of a controlled substance with

intent to distribute is a specific intent crime). Nonetheless, while a defendant is surely

entitled to correct instructions on defenses supported by sufficient evidence for a jury to

find in favor of the defendant, the evidence presented at trial was insufficient to

necessitate an intoxication instruction. To be entitled to an intoxication instruction, there

must be evidence that a defendant’s intoxication prevented him from forming the

requisite intent required for a conviction. See United States v. Briseno-Mendez, 1998

WL 440279, at *11 (10th Cir. July 17, 1998) (citing United States v. Boyles, 57 F.3d

535, 542 (7th Cir. 1995)). As the Circuit emphasized in Briseno-Mendez,

       A bald statement that the defendant had been drinking or was drunk is
       insufficient–insufficient not because it falls short of the quantum of
       evidence necessary, but because it is not evidence of the right thing. In
       order to merit an intoxication instruction . . . the defendant must point to
       some evidence of mental impairment due to the consumption of
       intoxicants sufficient to negate the existence of the [specific] intent[.]”

Id. (quoting Boyles, 57 F.3d at 542).

       While there is certainly evidence in the record that Mr. Dyke drank beer on

numerous occasions during the relevant time period, that evidence does not warrant an


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intoxication instruction. Significantly, very little evidence was introduced showing that

Mr. Dyke was actually intoxicated on these occasions or, more to the point, that Mr.

Dyke’s alleged intoxication created a mental impairment sufficient to negate the

existence of specific intent. The numerous audio recordings introduced at trial reveal

Mr. Dyke speaking clearly and coherently during the commission of the crimes charged.

The surveillance tape of the day of Mr. Dyke’s arrest shows Mr. Dyke drinking a beer

but he does not exhibit any signs typically associated with intoxication, including

impaired speech or mobility. Indeed, even in his motion, Mr. Dyke does not point to

evidence of intoxication or mental impairment–tellingly, he relies only “the abundant

evidence that undercover officer Clemmons provided the Defendant with countless beer

throughout the government’s undercover operation.”         Of course, evidence of the

government providing beer to Mr. Dyke fails to prove Mr. Dyke’s mental impairment.

In short, Mr. Dyke was not entitled to an intoxication instruction on the specific intent

crimes. See Boyles, 57 F.3d at 542 (holding voluntary intoxication instruction not

required when defendant, although inebriated at time of offense, failed to present

evidence that his degree of inebriation made him incapable of forming requisite intent

or resulted in suspension of his power to reason); Briseno-Mendez, 1998 WL 440279,

at *11-12 (district court did not err in refusing to give intoxication instruction on

conspiracy count where evidence, at most, showed that defendant was drunk but did not

show requisite mental impairment). Mr. Dyke’s motion on this issue is denied.



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       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Steele’s

motion for acquittal on the basis of outrageous governmental conduct (doc. 205) is

denied; Mr. Steele’s motion for new trial pursuant to Rule 33 (doc. 206) is granted; Mr.

Steele’s motion for acquittal on the basis of insufficient evidence (doc. 207) is denied;

and Mr. Dyke’s motion for judgment of acquittal notwithstanding the verdict or, in the

alternative, for a new trial (doc. 208) is denied.



       IT IS SO ORDERED this 4th day of November, 2011.



                                                     s/ John W. Lungstrum
                                                     John W. Lungstrum
                                                     United States District Judge




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